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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

   JEFFREY NUZIARD, ET AL.,

        Plaintiffs,

   v.                                              No. 4:23-cv-00278-P

   MINORITY BUSINESS DEVELOPMENT
   AGENCY, ET AL.,

        Defendants.
                      AMENDED FINAL JUDGMENT
      Pursuant to Federal Rule of Civil Procedure 58, the Court’s March 5,
   2024 Summary Judgment Order (ECF No. 60), and the Court’s Order
   Granting Plaintiffs’ Request for Fees and Costs entered this same date
   (ECF No. 71), the Court hereby ORDERS, ADJUDGES, and
   DECREES as follows:

      The MBDA, along with its officers, agents, servants, and employees,
   and/or anyone acting in active concert therewith, is PERMANENTLY
   ENJOINED from imposing the racial and ethnic classifications defined
   in 15 U.S.C. § 9501 and implemented in 15 U.S.C. §§ 9511, 9512, 9522,
   9523, 9524, and 15 C.F.R. § 1400.1, or otherwise using an applicant’s
   race or ethnicity in determining whether they can receive Business
   Center programming.

      The racial and ethnic classifications defined in 15 U.S.C. § 9501 and
   implemented in 15 U.S.C. §§ 9511, 9512, 9522, 9523, 9524, and 15 C.F.R.
   § 1400.1, are DECLARED unconstitutional.

      Plaintiffs are AWARDED $357,542.98 in attorneys’ fees
   reasonably incurred in this action, along with $2,749.50 in costs.

        SO ORDERED on this 2nd day of May 2024.
